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                     EXHIBIT A

               Proposed Interim Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    LUMIO HOLDINGS, INC., et al.,1                               Case No. 24-11916 (___)

                             Debtors.                            (Jointly Administered)

                                                                 Re: D.I. __


       INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO MAINTAIN THEIR
        CUSTOMER PROGRAMS AND HONOR CUSTOMER OBLIGATIONS, AND
                        (II) GRANTING RELATED RELIEF

                   Upon the motion (the “Motion”)2 filed by the Debtors for entry of an interim order

(this “Interim Order”) (a) authorizing the Debtors, in their sole discretion, to (i) maintain and

administer the Customer Programs and honor all Customer Obligations in the ordinary course of

business and in a manner consistent with past practice and (ii) renew, replace, implement, modify

or terminate Customer Programs as the Debtors deem appropriate in their business judgment, in

the ordinary course of business and consistent with past practice, without further order of the Court,

(b) authorizing applicable banks and other financial institutions to honor and process related

checks and transfers and (c) granting certain related relief, including scheduling the Final Hearing;

and this Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and this Court being able to issue a final order consistent

with Article III of the United States Constitution; and venue of these Chapter 11 Cases and the



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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      number, are Lumio Holdings, Inc. (7119) and Lumio HX, Inc. (7401). The Debtors’ headquarters is located at
      1550 W Digital Drive, Suite 200, Lehi, UT 84043.
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      All capitalized terms used and not defined herein shall have the meanings given to them in the Motion.

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Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being

a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper and

adequate notice of the Motion and the relief requested therein has been provided in accordance

with the Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no

other or further notice is necessary; and objections (if any) to the Motion having been withdrawn,

resolved or overruled on the merits; and this Court having found and determined that the relief

sought in the Motion is in the best interest of the Debtors, their estates, their creditors and all other

parties-in-interest; and that the legal and factual bases set forth in the Motion establish just cause

for the relief granted herein; and after due deliberation and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.      The Motion is GRANTED on an interim basis as set forth herein.

                  2.      The final hearing (the “Final Hearing”) on the Motion shall be held on

[_______], 2024, at [________] (ET). Any objections or responses to entry of a final order on the

Motion (each, an “Objection”) shall be filed on or before 4:00 p.m. (ET) on [__________], 2024,

and served on the following parties: (i) proposed counsel to the Debtors, Morris, Nichols, Arsht &

Tunnell LLP, 1201 Market Street, 16th Floor, Wilmington, Delaware 19801 (Attn: Robert J.

Dehney,        Sr.,    Esq.      (rdehney@morrisnichols.com),      Matthew       B.    Harvey,      Esq.

(mharvey@morrisnichols.com), and Matthew O. Talmo, Esq. (mtalmo@morrisnichols.com)); (ii)

the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844 King St., Lockbox

35, Wilmington, DE 19801 (Attn: Joseph Cudia, Esq. (joseph.cudia@usdoj.gov) and Fang Bu,

Esq. (fang.bu@usdoj.gov)); (iii) counsel to the Debtors’ proposed debtor in possession financing

lender, (a) Davis Polk & Wardell LLP, 450 Lexington Avenue, New York, NY 10017, Attn:

Darren    S.     Klein,   Esq.     (darren.klein@davispolk.com)     and   Joanne      McDonald,     Esq.



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(joanne.mcdonald@davispolk.com) and (b) Richards, Layton & Finger, P.A., 920 N. King Street,

Wilmington, DE 19801, Attn: Amanda R. Steele (steele@rlf.com), Mark D. Collins

(collins@rlf.com) and James F. McCauley (mccauley@rlf.com);and (iv) counsel to any statutory

committee appointed in these Chapter 11 Cases. In the event no Objections to entry of a final

order on the Motion are timely received, this Court may enter such final order without need for the

Final Hearing.

                 3.   The Debtors are authorized, in their sole discretion, to maintain, continue,

renew, replace, implement, modify or terminate, in the ordinary course of business and consistent

with past practice, the Customer Programs as needed, without obtaining any further order of the

Court.

                 4.   The Debtors are authorized, in their sole discretion, to satisfy the Customer

Obligations, as they come due in the ordinary course of business; provided that, payments by the

Debtors on account of prepetition Customer Obligations shall not exceed $335,000 prior to entry

of the Final Order.

                 5.   The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Interim Order.

                 6.   Nothing in this Interim Order (a) is intended or shall be deemed to constitute

Debtors’ approval, assumption, adoption or rejection of any agreement, contract, lease, program

or policy between the Debtors and any third party of any agreement pursuant to section 365 of the

Bankruptcy Code or Debtors’ admission as to the validity of any claim against the Debtors and

their estates, (b) shall impair, prejudice, waive or otherwise affect the rights of the Debtors and




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their estates with respect to the validity, priority or amount of any claim against the Debtors and

their estates, or (c) shall be construed as the Debtors’ promise to pay a claim.

               7.       Notwithstanding the relief granted in this Interim Order, any payment made

or to be made by, or other action taken by, the Debtors pursuant to the authority granted herein

shall be subject to and in compliance with each interim and final order entered by the Court in

respect of the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors

to (A) Obtain Post-petition Financing and (B) Use Cash Collateral, (II) Granting Liens and

Providing Claims with Superpriority Administrative Expense Status, (III) Granting Adequate

Protection to the Prepetition Term Loan Secured Parties, (IV) Modifying the Automatic Stay, (V)

Scheduling a Final Hearing and (VI) Granting Related Relief, filed contemporaneously herewith

(collectively, such interim and final orders, the “DIP Orders”). Nothing herein is intended to

modify, alter or waive, in any way, any terms, provisions, requirements or restrictions of the DIP

Orders. To the extent there is any inconsistency between the terms of the DIP Orders and the terms

of this Interim Order or any action taken or proposed to be taken hereunder, the terms of the DIP

Orders shall control.

               8.       The Debtors are authorized to take any and all actions necessary to

effectuate the relief granted herein.

               9.       The requirements set forth in Bankruptcy Rule 6003(b) are satisfied.

               10.      The requirements set forth in Bankruptcy Rule 6004(a) are waived.

               11.      This   Interim   Order   is   immediately      effective   and   enforceable,

notwithstanding the possible applicability of Bankruptcy Rule 6004(h) or otherwise.




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               12.     The Court retains jurisdiction with respect to all matters arising from or

related to the interpretation or implementation of this Interim Order.




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